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   Attorney for Plaintiff
 5
 6                             UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF NEVADA
 8
     RONNIE L. BROWN,                               )
 9                                                  ) CASE NO.: 2:20-cv-00163-GMN-DJA
                  Plaintiff,                        )
10                                                  )
     vs.                                            ) STIPULATION TO EXTEND
11                                                  ) DEADLINE TO RESPOND TO
     LIBERTY COUNTY MUTUAL                          ) MOTION FOR SUMMARY
12   INSURANCE                                      ) JUDGMENT
     COMPANY,                                       )
13                                                  )
               Defendant.                           ) [First Stipulation to Extend]
14   ___________________________________)
15
           IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff
16
     RONNIE L. BROWN, by and through his attorney of record, MITCHELL POSIN, ESQ.,
17
     of the law offices of Mitchell Posin, Chtd., and ANDREW GREEN, ESQ., of Koeller
18
     Nebeker Carlson Haluck, LLP, to an enlargement of the time to respond to Defendant’s
19
     Motion for Summary Judgment, to and including January 8, 2021.
20
           The stipulation is based on conflicting scheduling demands.
21
           Pursuant to Local Rule IA 6-1(a), the parties affirm that, although this is the first
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     filing of a stipulation with the Court, the parties had orally agreed to extend the time to
23
     ///
24
     ///
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     ///
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     ///
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 1   respond prior to the expiration of the time to respond.
 2
 3         Dated this 23 day of December, 2020.
 4
 5     /s/ Mitchell Posin                               /s/ Andrew Green
   Mitchell L. Posin, Esq.                         Andrew Green, Esq.
 6 Law Offices of Mitchell Posin, Chtd.            Koeller Nebeker Carlson Haluck, LLP
   410 South Rampart Boulevard, Suite 390          400 S Fourth St
 7 Las Vegas, Nevada 89145                         Las Vegas, NV 89101
   Attorney for Plaintiff                          Attorney for Defendant
 8
 9
10                                    IT IS SO ORDERED.
11
                                      Dated this ___
                                                 29 day of December, 2020.
12
13
14
                                      ________________________________
15                                    Gloria M. Navarro, District Judge
                                      United States District Court
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28                                          Page 2 of 3
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 1                                  Declaration of Mitchell Posin
 2
              Plaintiff requires additional time to respond to Defendant’s Motion for
 3
     Summary Judgment due to additional scheduling demands, and deadlines in other
 4
     cases.
 5
              Plaintiff has discussed the matter with Defense Counsel, who has no objection
 6
     to the extension, and has authorized the undersigned to affix his electronic signature
 7
     hereto.
 8
              I declare under penalty of perjury that the foregoing is true and correct.
 9
              Executed on this 15 day of October, 2020.
10
                                                      Respectfully submitted,
11
12
                                                  by:______/s/ Mitchell Posin___________
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